Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.277 Filed 05/02/24 Page 1 of 24

United States District Court
Eastern District of Michigan
Southern Division 0 R | Gl NA LL
United States of America,

Plaintiff,
Case No. 23-20431
Mf

Hon. David M. Lawson
Houda Bazzi,

Defendant.

Plea Agreement

The United States of America and the defendant, Houda Bazzi,
have reached a plea agreement under Federal Rule of Criminal
Procedure 11. The plea agreement’s terms are:

1. Count of Conviction

The defendant will plead guilty to Count 1 of the Indictment. Count
1 charges the defendant with Conspiracy to Commit Health Card Fraud
under 18 U.S.C. § 1349.

2. Statutory Minimum and Maximum Penalties

The defendant understands that the counts to which she is pleading

guilty carry the following minimum and maximum statutory penalties:

Page 1 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.278 Filed 05/02/24 Page 2 of 24

JSAVISIAO
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.279 Filed 05/02/24 Page 3 of 24

Count 1 Term of imprisonment: 10 years
Fine: $250,000, or twice the
gain or loss (18 U.S.C. §
3571(d)
Term of supervised release: | 3 years

8. Agreement to Dismiss Remaining Charges

If the Court accepts this agreement and imposes sentence
consistent with its terms, the United States Attorney's Office for the
Eastern District of Michigan will move to dismiss any remaining charges
in the indictment against the defendant in this case. Specifically, the
United States Attorney’s Office will move to dismiss Counts 2-16 of the
indictment.

4, Agreement Not to Bring Additional Charges

If the Court accepts this agreement and imposes sentence
consistent with its terms, the United States Attorney’s Office for the
Eastern District of Michigan will not bring additional charges against the
defendant for the conduct reflected in the indictment or factual basis.

5. Elements of Count of Conviction

The elements of Count 1 are:

First, that two or more persons conspired, or agreed, to commit the
crime of health care fraud.

Page 2 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.280 Filed 05/02/24 Page 4 of 24

Second, that the defendant knowingly and voluntarily joined the
conspiracy.

6. Factual Basis

The parties agree that the following facts are true, accurately
describe the defendant’s role in the offense, and provide a sufficient
factual basis for the defendant’s guilty plea:

Beginning in about 2016 or 2017, and continuing through about
December 2021, in the Eastern District of Michigan, Houda Bazzi
willfully conspired with Samer Youssef, Daoud Faraj, and others, to
defraud Medicare and Blue Care Network, health care benefit programs
affecting commerce as defined in 18 United States Code § 24(b), of money
by means of materially false representations, in connection with the
delivery of and payment for prescription medications.

At all relevant times, Samer Youssef was a licensed pharmacist and
owner of several business entities, including Somerset Specialty
Pharmacy. Houda Bazzi, a pharmacy technician, worked for Youssef’s
business entities. Faraj was a licensed medical doctor. Also, “specialty”
medications are prescription drugs that, for example, treat a less common
health condition or have less common characteristics, such as requiring

special handling, special administration, or additional monitoring, and

Page 8 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.281 Filed 05/02/24 Page 5 of 24

at times can be high-cost medications. “Orphan drugs” are a type of
“specialty” medication and are defined in the Orphan Drug Act as one
intended to treat, prevent or diagnose a “rare disease or condition.” 21
U.S.C. § 360bb(a)(2).

As part of the conspiracy, Samer Youssef and Houda Bazzi
identified prescription specialty medications, orphan drugs, and other
prescription medications that could be sold at a profit. The prescription
medications included, for example, Firazyr, Trikafta, and Augabio.
Samer Youssef and Houda Bazzi then worked with Faraj and other
doctors to write medically unnecessary prescriptions for the specialty
medication or orphan drug.

The doctors, including Faraj, wrote medically unnecessary
prescriptions in the names of “patients” who had no medical need for the
medications. The “patients” included (1) family and/or friends of Youssef,
Bazzi, or Faraj, (2) existing patients of Faraj or other doctors, (8) and
Youssef and Bazzi themselves. Youssef, Bazzi, Faraj, and other doctors
worked to complete the necessary paperwork and send the medically
unnecessary prescriptions to a specialty pharmacy that filled the

prescription for the specialty medication or orphan drug. The specialty

Page 4 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.282 Filed 05/02/24 Page 6 of 24

pharmacy billed Medicare or BCN to dispense the specialty medication
or orphan drug.

In addition to the prescription, the specialty pharmacy required
paperwork and other documentation to fill the prescription,
documentation that included the patient’s name and purported address,
purported telephone number, insurance information, and other
purported contact information, as well as the prescribing physicians’
name, address, telephone number, and other contact information.
Youssef, Faraj, and Bazzi conspired to include in that documentation a
purported patient address that caused the specialty pharmacy to send
the specialty medication or orphan drug to an address controlled by
Youssef, Bazzi, or Faraj, rather than to the patient’s actual address.
Youssef, Faraj, and Bazzi also conspired to include in the documentation
submitted to the specialty pharmacy a purported telephone number or
other contact information that caused the specialty pharmacy to
communicate with Youssef or Bazzi about the prescription, and not
communicate with the “patient.”

When the specialty medications and orphan drugs arrived, Youssef

and Bazzi, via their business entities including SMA Patient Care, LLC,

Page 5 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.283 Filed 05/02/24 Page 7 of 24

Somerset Specialty Pharmacy, and Spring Bio Solution, arranged to ship
the medications to their customers, who were domestic and international
companies. Youssef and Bazzi’s business entities sold the medications for
millions of dollars.

Youssef and Bazzi paid Faraj and other doctors for their roles in the
conspiracy. In executing this scheme, Youssef, Faraj, Bazzi, and other
doctors submitted or caused the submission of claims to Medicare and
BCN for prescription medications that were not medically necessary.
Medicare paid $5,616,327.41 for prescriptions Faraj and other doctors
issued as part of this scheme, and BCN paid $26,931.11 for prescriptions
Faraj issued as part of this scheme.

7. Advice of Rights

The defendant has read the indictment, has discussed the charges
and possible defenses with her attorney, and understands the crimes
charged. The defendant understands that, by pleading guilty, she is
waiving many important rights, including the following:

A. The right to plead not guilty and to persist in that plea;
B. The right to a speedy and public trial by jury;
C. The right to be represented by counsel—and, if necessary,

have the court appoint counsel—at trial;

Page 6 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.284 Filed 05/02/24 Page 8 of 24

D. The right to be presumed innocent and to require the
government to prove the defendant guilty beyond a reasonable
doubt at trial;

E. The right to confront and cross-examine adverse witnesses
at trial;

F. The right to testify or not to testify at trial, whichever the
defendant chooses;

G. Ifthe defendant chooses not to testify at trial, the right to
have the jury informed that it may not treat that choice as
evidence of guilt;

H. The right to present evidence or not to present evidence at
trial, whichever the defendant chooses; and

I. The right to compel the attendance of witnesses at trial.
8. Collateral Consequences of Conviction

The defendant understands that her conviction here may carry
additional consequences under federal or state law. The defendant
understands that, if she is not a United States citizen, her conviction here
may require her to be removed from the United States, denied
citizenship, and denied admission to the United States in the future. The
defendant further understands that the additional consequences of her
conviction here may include, but are not limited to, adverse effects on the
defendant’s immigration status, naturalized citizenship, right to vote,
right to carry a firearm, right to serve on a jury, and ability to hold certain

licenses or to be employed in certain fields. The defendant understands

Page 7 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.285 Filed 05/02/24 Page 9 of 24

that no one, including the defendant’s attorney or the Court, can predict
to a certainty what the additional consequences of the defendant’s
conviction might be. The defendant nevertheless affirms that the
defendant chooses to plead guilty regardless of any immigration or other
consequences from her conviction.
9. Defendant’s Guideline Range

A. Court's Determination

The Court will determine the defendant’s guideline range at
sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the defendant receive a two-level reduction for
acceptance of responsibility under USSG § 38E1.1(a). Further, if the
defendant’s offense level is 16 or greater and the defendant is awarded
the two-level reduction under USSG § 3E1.l(a), the government
recommends that the defendant receive an additional one-level reduction
for acceptance of responsibility under USSG § 3E1.1(b). If, however, the
government learns that the defendant has engaged in any conduct
inconsistent with acceptance of responsibility—including, but not limited

to, making any false statement to, or withholding information from, her
Page 8 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.286 Filed 05/02/24 Page 10 of 24

probation officer; obstructing justice in any way; denying her guilt on the
offense to which she is pleading guilty; committing additional crimes
after pleading guilty; or otherwise demonstrating a lack of acceptance of
responsibility as defined in USSG § 3E1.1—the government will be
released from its obligations under this paragraph, will be free to argue
that the defendant not receive any reduction for acceptance of
responsibility under USSG § 3E1.1, and will be free to argue that the
defendant receive an enhancement for obstruction of justice under USSG
§ 3C1.1.

C. Other Guideline Recommendations

The parties also recommend under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the following guideline provisions apply to the
defendant’s guideline calculation on Count 1:

e USSG 2B1.1(a)(2): base offense level with 10 year statutory
maximum.

e USSG 2B1.1(b)(1)(ZJ): loss amount of $5,663,406.31 (more than $3.5
million and less than $9.5 million).

e USSG 2B1.1(b)(7): convicted of a federal health care offense
involving a government health care program with loss of more than
$1 million.

The parties have no other joint recommendations as to the

defendant’s guideline calculation.

Page 9 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.287 Filed 05/02/24 Page 11 of 24

D. Factual Stipulations for Sentencing Purposes

The parties have no additional factual agreements for sentencing
purposes.

EK. Parties’ Obligations

Both the defendant and the government agree not to take any
position or make any statement that is inconsistent with any of the
guideline recommendations or factual stipulations in paragraphs 9.B,
9.C, or 9.D. Neither party is otherwise restricted in what it may argue or
present to the Court as to the defendant’s guideline calculation.

F. Nota Basis to Withdraw

The defendant understands that she will have no right to withdraw
from this agreement or withdraw her guilty plea if she disagrees, in any
way, with the guideline range determined by the Court, even if that
guideline range does not incorporate the parties’ recommendations or
factual stipulations in paragraphs 9.B, 9.C, or 9.D. The government
likewise has no right to withdraw from this agreement if it disagrees with

the guideline range determined by the Court.

Page 10 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.288 Filed 05/02/24 Page 12 of 24

10. Imposition of Sentence
A. Court’s Obligation

The defendant understands that in determining her sentence, the
Court must calculate the applicable guideline range at sentencing and
must consider that range, any possible departures under the sentencing
guidelines, and the sentencing factors listed in 18 U.S.C. § 3553(a) and
apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation
Under Federal Rule of Criminal Procedure 11(c)(1)(B), the
government recommends that the defendant’s sentence of imprisonment
not exceed the midpoint of the defendant’s guideline range as determined
by the Court.
2. No Right to Withdraw
The government's recommendation in paragraph 10.B.1 is not
binding on the Court. The defendant understands that she will have no
right to withdraw from this agreement or withdraw her guilty plea if the
Court decides not to follow the government’s recommendation. The
government likewise has no right to withdraw from this agreement if the

Court decides not to follow the government's recommendation. If,

Page 11 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.289 Filed 05/02/24 Page 13 of 24

however, the Court rejects or purports to reject any other term or terms
of this plea agreement, the government will be permitted to withdraw
from the agreement.

C. Supervised Release
1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court impose a 3-year term of supervised release.

2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The
defendant understands that she will have no right to withdraw from this
agreement or withdraw her guilty plea if the Court decides not to follow
the parties’ recommendation. The defendant also understands that the
government’s recommendation concerning the length of the defendant’s
sentence of imprisonment, as described above in paragraph 10.B.1, will
not apply to or limit any term of imprisonment that results from any later

revocation of the defendant’s supervised release.

D. Fines

The parties have no agreement as to a fine.

Page 12 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.290 Filed 05/02/24 Page 14 of 24

E. Restitution

The Court must order restitution to every identifiable victim of
the defendant’s offense. The parties have agreed that restitution is as
follows, and shall be joint and several with defendants Samer Youssef
and Daoud Faraj:

e Medicare: $5,616,327.41
e Blue Care Network: $26,931.11

The defendant agrees that restitution is due and payable
immediately after the judgment is entered and is subject to immediate
enforcement, in full, by the United States. 18 U.S.C. §§ 3612(c) and 3613.
If the Court imposes a schedule of payments, the defendant agrees that
the schedule of payments is a schedule of the minimum payment due,
and that the payment schedule does not prohibit or limit the methods by
which the United States may immediately enforce the judgment in full.

The defendant agrees to make a full presentence disclosure of her
financial status to the United States Attorney’s Office by completing a
Financial Disclosure Form and the accompanying releases for the
purpose of determining her ability to pay restitution. The defendant

agrees to complete and return the Financial Disclosure Form within

Page 13 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.291 Filed 05/02/24 Page 15 of 24

three weeks of receiving it from government counsel. The defendant
agrees to participate in a presentencing debtor’s examination if requested
to do so by government counsel.

F. Forfeiture

Pursuant to Fed. R. Crim. P. 32.2, 18 U.S.C. § 981(a)(1)(C) with 28
U.S.C. § 2461(c), the defendant agrees to forfeit to the United States any
and all property, real or personal, which constitutes or is derived from
proceeds traceable to the defendant’s violation of 18 U.S.C. § 1349, as
charged in the Indictment, including but not limited to the following:

e Real property located at 357 12t» Avenue, Indian
Rocks Beach, Florida 33785

e Three Hundred Fifty-Five Thousand Six Hundred
Fifty-Two Dollars and Twenty-Four Cents
($355,652.24) in lieu of real property located at 236
Apex Drive, Pontiac, Michigan 48341

e Three Hundred Sixteen Thousand Eight Hundred
Eighty-Nine Dollars and Thirty-One Cents
($316,889.31) in Funds from Flagstar Bank
Account No. 143158253, in the name of SMA
Patient Care, LLC Wholesaler

e One Hundred Thirteen Thousand Two Hundred
Ninety-Two Dollars and Sixty-Two Cents
($113,292.62) in Funds from Flagstar Bank
Account No. 118559270, in the name of SMA
Patient Care, LLC DBA Somerset Specialty
Pharmacy Rochester Hills, LLC

Page 14 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.292 Filed 05/02/24 Page 16 of 24

e Grey 2021 Mercedes-Benz E 63; VIN
W1KZF8KB6MA932583, Florida Title No.
141957479, License Plate No. QLRP66, registered
in the name of Defendant Samer Nabil Youssef
and YGZ Enterprises, LLC

e Black 2021 Jeep Wrangler RUBICON; VIN
1C4JJXSJ1MW634145, Florida Title No.
143797097, License Plate No. NYPL65, registered
in the name of Defendant Samer Nabil Youssef

e 2022 40° 400 Sport Cruiser, possessing Hull
Number SHF40119H122, Florida Title No.
146978808

(the “Subject Property”).

The defendant also agrees, pursuant to Fed. R. Crim. P. 32.2, 18
U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461, to the entry of a personal
forfeiture money judgment against her in favor of the United States in
the amount of $11.9 million, which represents the amount of proceeds the
defendant obtained or derived, directly or indirectly, from her violation
of 18 U.S.C. § 13849. The amount owed by the defendant on the money
judgment will be reduced by the final amounts forfeited to the United
States.

The defendant agrees that the forfeiture money judgment may be

satisfied, to whatever extent possible, from any property owned or

Page 15 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.293 Filed 05/02/24 Page 17 of 24

under the control of the defendant. To satisfy the money judgment, the
defendant explicitly agrees to the forfeiture of any assets she has now, or
may later acquire, as substitute assets under 21 U.S.C. § 853(p)(2) and
waives and relinquishes her rights to oppose the forfeiture of substitute
assets under 21 U.S.C. § 853(p)(1) or otherwise.

The defendant agrees to the entry of one or more orders of
forfeiture, including a Preliminary Order of Forfeiture, containing the
above referenced forfeiture of proceeds and the forfeiture money
judgment, upon application by the United States at, or any time before,
her sentencing in this case. The defendant agrees to sign such an order,
indicating she consents to its entry if requested to do so by the
government. The defendant agrees that the forfeiture order will be final
and effective as to her upon entry by the Court.

The defendant will cooperate with in the government as requested
by the government in connection with the government’s efforts to
identify, locate, seize, and forfeit property that is subject to forfeiture
under this agreement. The defendant agrees that she will cooperate with
the United States by taking whatever steps are necessary to deliver

possession of, and clear title to, property that is forfeitable to the United

Page 16 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.294 Filed 05/02/24 Page 18 of 24

States under this agreement and will execute such legal documents as
may be required to transfer title to the United States and by taking
whatever steps are necessary to ensure that the property is not sold,
disbursed, hidden, wasted or otherwise made unavailable for forfeiture.
If any other person or entity has any interest in such property, the
defendant will provide the government with the name and address of the
person or entity that has an interest in, and/or possession of, the asset,
and assist the government in obtaining a release of interest from any
such other person or entity.

The defendant waives her right to have a jury determine the
forfeitability of her interest in the above identified property as provided
by Fed. R. Crim. P. 32.2(b)(5).

The defendant waives the requirements of Fed. R. Crim. P. 32.2 and
43(a) regarding notice of the forfeiture in the charging instrument,
pronouncement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. The defendant acknowledges that she
understands that the forfeiture of property is part of the sentence that

may be imposed in this case and waives any failure by the Court to advise

Page 17 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.295 Filed 05/02/24 Page 19 of 24

her of this, pursuant to Fed. R. Crim. P. 11(b)(1)@), at the time her guilty
plea is accepted.

The defendant agrees to hold the United States, its agents and
employees harmless from any claims whatsoever in connection with the
seizure and/or forfeiture of property covered by this Plea Agreement.

The defendant knowingly, voluntarily, and intelligently waives any
statutory and constitutional challenge to the above-described forfeiture
including any challenge based upon the Excessive Fines Clause of the
Eighth Amendment to the United States Constitution.

Upon entry by the Court of an Order of Restitution as part of the
Judgment of Conviction in this criminal case and the forfeiture of any
specific assets in this case becoming final, the United States Attorney's
Office for the Eastern District of Michigan agrees to prepare a Request
for Restoration of Forfeited Assets to Known Victim(s). The Request for
Restoration will be submitted to the Department of Justice, Criminal
Division, Money Laundering and Asset Recovery Section (MLARS) for
determination. Defendant acknowledges that no representation has been
made to him, however, as to the outcome of such a Request for

Restoration, and understands that the MLARS may grant the Request

Page 18 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.296 Filed 05/02/24 Page 20 of 24

for Restoration, may grant in-part the Request for Restoration, or may
deny the Request for Restoration. Defendant expressly acknowledges
that the Request for Restoration may be denied and that no
representations have been made to him by or on behalf of the United
States Attorney's Office or the Department of Justice as to the likelihood
that such a Request will or would be granted.

G. Special Assessment

The defendant understands that she will be required to pay a
special assessment of $100, due immediately upon sentencing.
11. Appeal Waiver

The defendant waives any right she may have to appeal her
conviction on any grounds. The defendant also waives any right she may
have to appeal her sentence on any grounds, unless her sentence of
imprisonment exceeds the top of the guideline range as determined by
the Court.

12. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective
assistance of counsel or prosecutorial misconduct, as long as the
defendant properly raises those claims by collateral review under 28

U.S.C. § 2255. The defendant also retains the right to pursue any relief
Page 19 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.297 Filed 05/02/24 Page 21 of 24

permitted under 18 U.S.C. § 3582(c), as long as the defendant properly
files a motion under that section. The defendant, however, waives any
other right she may have to challenge her conviction or sentence by
collateral review, including, but not limited to, any right she may have to
challenge her conviction or sentence on any grounds under 28 U.S.C.
§ 2255 (except for properly raised ineffective assistance of counsel or
prosecutorial misconduct claims, as described above), 28 U.S.C. § 2241,
or Federal Rule of Civil Procedure 59 or 60.

13. Remedies for Withdrawal, Breach, Rejection, or Vacatur

If the defendant is allowed to withdraw her guilty plea or breaches
this agreement, or if the Court rejects this agreement, or if the
defendant’s conviction or sentence under this agreement is vacated, the
government may reinstate any charges against the defendant that were
dismissed as part of this agreement and may file additional charges
against the defendant relating, directly or indirectly, to any of the
conduct underlying the defendant’s guilty plea or any relevant conduct.
If the defendant has been permitted to plead guilty to a lesser-included
offense, the government may also reinstate any charges or file any
additional charges against the defendant for the greater offense, and the

defendant waives her double-jeopardy rights with respect to the greater
Page 20 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.298 Filed 05/02/24 Page 22 of 24

offense. If the government reinstates any charges or files any additional
charges as permitted by this paragraph, the defendant waives her right
to challenge those charges on the ground that they were not filed in a
timely manner, including any claim that they were filed after the
limitations period expired.

14. Use of Withdrawn Guilty Plea

The defendant agrees that if she is permitted to withdraw her guilty
plea for any reason, she waives all of her rights under Federal Rule of
Evidence 410, and the government may use her guilty plea, any
statement that the defendant made at her guilty plea hearing, and the
factual basis set forth in this agreement, against the defendant in any
proceeding.

15. Parties to Plea Agreement

This agreement does not bind any government agency except the
United States Attorney’s Office for the Eastern District of Michigan.

16. Scope of Plea Agreement

This plea agreement is the complete agreement between the parties
and supersedes any other promises, representations, understandings, or
agreements between the parties concerning the subject matter of this

agreement that were made at any time before the guilty plea is entered

Page 21 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.299 Filed 05/02/24 Page 23 of 24

in court. Thus, no oral or written promises made by the government to
the defendant or to the attorney for the defendant at any time before the
defendant pleads guilty are binding except to the extent they have been
explicitly incorporated into this plea agreement. If the parties have
entered, or subsequently enter, into a written proffer or cooperation
agreement, though, this plea agreement does not supersede or abrogate
the terms of that agreement. This plea agreement also does not prevent
any civil or administrative actions against the defendant, or any
forfeiture claim against any property, by the United States or any other

party.

Page 22 of 23
Case 2:23-cr-20431-DML-DRG ECF No. 70, PagelD.300 Filed 05/02/24 Page 24 of 24

17. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in
the United States Attorney’s Office by 5:00p.m. on May 1, 2024. The
government may withdraw from this agreement at any time before the
defendant pleads guilty.

Dawn N. Ison
United Stat

Mar} hasteen aee ; ‘Aevense
Chief, White Collar Crime Unit Assistant United States Attorney
Assistant United States Attorney

Dated: April 29, 2024

By signing below, the defendant and her attorney agree that the
defendant has read or been read this entire document, has discussed it
with her attorney, and has had a full and complete opportunity to confer
with her attorney. The defendant further agrees that she understands
this entire document, agrees to its terms, has had all of her questions

answered by her attorney, and is satisfied with her attorney’s advice and

J es/S-Thomas HoudaBazzi
sitomney for Defendant Defendant

Dated: Sf! [z#

representation.

Page 23 of 23
